Case 3:20-cv-00278-RLY-CSW   Document 189-10   Filed 04/14/25   Page 1 of 4 PageID
                                  #: 14979




                       Exhibit I
Case 3:20-cv-00278-RLY-CSW            Document 189-10         Filed 04/14/25      Page 2 of 4 PageID
                                           #: 14980



                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

    CHARLES CURTIS, et al.,                                   )
                                                              )
    Plaintiffs,                                               )   Civ. No. 3:06-cv-448
                                                              )   Judge Phillips
    v.                                                        )
                                                              )
    ALCOA INC., Individually and as Fiduciary of              )
    the Employees’ Group Benefits Plan of Alcoa               )
    Inc., Plan II,                                            )
                                                              )
    Defendant.                                                )

                     PLAINTIFFS’ MOTION FOR CLARIFICATION
                   AND/OR AMENDMENT OF THE JUDGMENT ORDER

             Plaintiffs, through counsel, pursuant to Fed. R. Civ. P. 59(a)(2) and (e), hereby

    respectfully move the Court for entry of an Order clarifying and/or amending the

    Judgment Order (Doc. 524) entered in this case on March 9, 2011.

             In further support hereof, Plaintiffs respectfully contemporaneously filed their

    memorandum in support, supporting declaration with attached exhibit and proposed

    order.

             Wherefore, Plaintiffs respectfully request that their motion for clarification and to

    amend the judgment be granted.

             Respectfully submitted this 23rd day of March, 2011 by:

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Case 3:06-cv-00448-PLR-CCS            Document 525 Filed 03/23/11             Page 1 of 3      PageID
                                           #: 12749
Case 3:20-cv-00278-RLY-CSW   Document 189-10      Filed 04/14/25       Page 3 of 4 PageID
                                  #: 14981



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Case 3:06-cv-00448-PLR-CCS   Document 525 Filed 03/23/11          Page 2 of 3    PageID
                                  #: 12750
Case 3:20-cv-00278-RLY-CSW         Document 189-10        Filed 04/14/25    Page 4 of 4 PageID
                                        #: 14982



                               CERTIFICATE OF SERVICE

            I hereby certify on this 23rd day of March, 2011, I electronically filed the
    foregoing PLAINTIFFS’ MOTION FOR CLARIFICATION AND/OR AMENDMENT
    OF THE JUDGMENT ORDER with the Clerk of the Court using the CM/ECF filing
    system, which will electronically serve on the same date, the attorneys for Defendant as
    indicated on the electronic filing receipt.



                                        s/Gregory F. Coleman
                                        Gregory F. Coleman




Case 3:06-cv-00448-PLR-CCS         Document 525 Filed 03/23/11           Page 3 of 3     PageID
                                        #: 12751
